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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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 FIRST DATA MERCHANT SERVICES LLC,
                                                                                Case No. 1:19-cv-10964 (PKC)
                                    Plaintiff,
                                                                                ________________
                                                                                ________________
                                                                                 ________________
                                                                                [PROPOSED]
                                                                                _______________ ORDER
                  -against-

 MM DEVELOPMENT COMPANY d/b/a PLANET 13;
 SISTEM COMMERCE CITY LLC d/b/a SILVER STEM FINE
 CANNABIS; KTZ HOLDINGS, INC. d/b/a SILVER STEM;
 GTR SOURCE, LLC; NEW YORK CITY MARSHAL
 STEPHEN W. BIEGEL; ML FACTORS FUNDING LIMITED
 LIABILITY COMPANY; PELICAN COMMUNICATIONS,
 INC. d/b/a THE PELICAN GROUP; LINX CARD, INC.; and
 GIVV, INC.

                                    Defendants, and

 STRAND VIEW ENTERPRISES, LLC; SUNRISE
 PHARMACY LLC; BLUE WAVE MANAGEMENT LLC;
 INLAND MEDICAL CONSULTANTS, LLC d/b/a
 ADVANCED THERAPEUTICS.

                                     Intervenor-Defendants.
 ---------------------------------------------------------------------------X

        The Court has reviewed the joint letter motion and stipulation for the disbursal of the

interpleaded funds submitted by MMD Development Company d/b/a Planet 13 (“Planet 13”),

Sistem Commerce City LLC d/b/a Silver Stem Fine Cannabis (“Silver Stem”), KTZ Holdings

Inc. d/b/a Silver Stem (“KTZ,” together with Silver Stem “Silver Stem”), GTR Source, LLC

(“GTR”), Pelican Communications, Inc. d/b/a the Pelican Group (“Pelican”) Strand View

Enterprises, LLC, Sunrise Pharmacy LLC, Blue Wave Management LLC; Inland Medical

Consultants, LLC d/b/a Advanced Therapeutics (collectively, “Strand View”), and De

Amsterdam d/b/a The Herb Center (“De Amsterdam”) (collectively, the “Parties”).
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IT IS HEREBY ORDERED as follows:


      1.    De Amsterdam’s Motion to Intervene (Dkt. No. 112) is Granted.

      2.    The parties’ Stipulated Motion for the Disbursement of the Interpleaded Funds is
            Granted.

      3.    The Clerk of Court is directed to deduct from the income earned on the funds on
            deposit, a fee and tax withholdings as set forth in Local Rule 67.1 and authorized
            by the Judicial Conference of the United States, 28 U.S.C. § 1914 and is then
            direct to disburse the remaining funds as follows:

            a.     45.852% (approximately $284,083.15) to Cohen Tauber Spievack &
                   Wagner P.C. Trust Account, as counsel for GTR, 420 Lexington Avenue,
                   Suite 2400, New York, New York 10170

            b.     31.495% (approximately $195,127.82) to Heaton Fontano, Ltd. Trust
                   Account, as counsel for Strand View, 136 E South Temple, Ste 1400
                   Salt Lake City, UT 84111

            c.     16.683% (approximately $103,361.14) to Cornerstone Law Group Trust
                   Account, as counsel for Planet 13, 351 California St. Ste 600, San
                   Francisco, Ca. 94104

            d.     3.840% (approximately $ 23,792.99) to Moore Law Trust Account as
                   counsel for De Amsterdam, 600 Third Ave., 2nd Fl. New York, New York
                   10016

            e.     2.130% (approximately $ 13,195.46) to Sobel Law Offices P.C. Trust
                   Account as counsel to Silver Stem, 175 Eileen Way, Syosset, New York
                   11791

      4.    GTR’s cross-claims against Linx Card Inc. and Givv, Inc. are dismissed without
            prejudice;

      5.    Pelican’s cross-claim against Linx Card Inc. and Givv, Inc. is dismissed without
            prejudice;

      6.    Upon disbursement of the funds, all other claims, cross-claims and counterclaims
            in this action are DISMISSED.
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SO ORDERED.
1/11/2021
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